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                   IN THE UNITED STATES DISTRICT COURT FOR THE
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                            EASTERN DISTRICT OF CALIFORNIA
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 8
     UNITED STATES OF AMERICA,           )                 1:06-cr-00299 AWI
 9                                       )
                       Plaintiff,        )                 ORDER RE EX PARTE
10                                       )                 MOTION FOR AN ORDER TO
           v.                            )                 PREPARE AND PRODUCE
11                                       )                 TRANSCRIPTS AND
     KEITH DAVID GOODWIN,                )                 AUTHORIZATION FOR FEES
12                                       )                 AND PAYMENT TO FEDERAL
                       Defendant.        )                 COURT REPORTER GAIL
13   ____________________________________)                 THOMAS FOR THOSE
                                                           TRANSCRIPTS
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             On August 7, 2008, Defendant filed his Ex Parte Motion For An Order To Prepare
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     And Produce Transcripts And Authorization For Fees And Payment To Federal Court
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     Reporter Gail Thomas For Those Transcripts. In Defendant’s motion, Defendant sets forth
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     two bases for the granting of his motion. The first basis is for “ . . . two separate and still
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     pending area’s and issues of this case.” Defendant refers to “prosecutorial misconduct” and
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     set forth an extensive discussion regarding Garrett Goodwin. The second basis appears to
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     relate to factual disputes in the preliminary draft of the presentence report. At pages 11 and
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     12 of his motion, Defendant requests transcripts of hearings, closing arguments, testimony of
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     fourteen trial witnesses, and discussions and arguments held outside the presence of the jury
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     during the trial.
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             The court has reviewed the motion and the attached declarations. The court is well
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     aware of the pretrial and trial evidentiary and procedural issues relating to Garrett Goodwin.
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 1   The court is well aware of the trial proceedings, including the various legal matters and trial
 2   testimony. The court is satisfied that at this time, based upon all of the information available
 3   to the court, granting Defendant’s motion is unwarranted.
 4           Defendant may, if he so chooses, submit a declaration signed under penalty of perjury
 5   by Garrett Goodwin, if he so chooses, in support of any post trial motions or sentencing
 6   issues. Thereafter, should the court determine that the deposition or live testimony of Garrett
 7   Goodwin would be necessary for the consideration and resolution of any motions or
 8   sentencing issues, the court will so inform the parties.
 9           Defendant may, if he so chooses, reference any of the trial proceedings, including the
10   various legal matters and trial testimony, in any post trial motions or sentencing issues. If a
11   specific factual dispute relating to the trial proceedings arises during the course of any post
12   trial motion or sentencing issue, the court will consider allowing the parties to request the
13   transcript of the relevant specific portion of the trial proceedings at issue.
14           The court, at this time, finds that an in camera hearing with Defendant on these
15   matters is unnecessary and unwarranted.
16           THEREFORE, IT IS HEREBY ORDERED that Defendant’s Ex Parte Motion For An
17   Order To Prepare And Produce Transcripts And Authorization For Fees And Payment To
18   Federal Court Reporter Gail Thomas For Those Transcripts is DENIED.
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20   IT IS SO ORDERED.
21   Dated:     August 13, 2008                         /s/ Anthony W. Ishii
     0m8i78                                    CHIEF UNITED STATES DISTRICT JUDGE
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